     Case 5:04-cr-40141-JTM       Document 197      Filed 08/08/05    Page 1 of 10




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )
v.                                       )      Case No. 04-40141-01, 02-MLB
                                         )
ARLAN D. KAUFMAN, and                    )
LINDA J. KAUFMAN,                        )
                                         )
                    Defendant.           )
                                         )

                           MEMORANDUM AND ORDER

      On July 1, 2005, the Court referred Defendants’ Joint Motion to Modify Pretrial

Release Conditions (Doc. 123) to Magistrate Judge Sebelius for hearing. On July 18,

2005, the Court also referred Joint Defense Motion for Expedited Hearing on Defense

Access to Witnesses (Doc. 152) and Government’s Motion to Revoke the Conditions of

Release for Defendant Arlan Kaufman (Doc. 154) to Magistrate Judge Sebelius. Judge

Sebelius set the motions for hearing on August 3, 2005 at 9:30 a.m. in Topeka, Kansas.

(Doc. 169).

      On July 28, 2005, this case was returned to Wichita (Doc. 188), and ultimately

assigned to Judge Belot. (Doc. 192). After reassignment to Wichita, the above motions

were set for hearing before the undersigned magistrate judge on August 3, 2005 at 1:00

p.m. (Doc. 190). The parties and counsel appeared on that date as follows: Lisa Krigsten

and Kristy Parker, U.S. Department of Justice, Civil Rights Division and Tanya J.

Treadway, Assistant U.S. Attorney, for the Government; Thomas D. Haney for Defendant

Arlan Kaufman; Stephen M. Joseph and Christopher Joseph for Defendant Linda
      Case 5:04-cr-40141-JTM         Document 197     Filed 08/08/05    Page 2 of 10




Kaufman.

              Prior Order Concerning Detention or Release of Defendants

       The undersigned magistrate judge entered an Order on November 17, 2004 (Doc.

50) setting conditions for the release of both defendants. This Order was entered after

two days of hearings (held on November 3 and 17, 2004) on the Government’s motion for

detention. (Doc. 11). The Government then sought review of the magistrate’s Order

pursuant to 18 U.S.C. § 3145(a)(1) and the parties entered into an agreement which

allowed defendants to be released under modified conditions pending resolution of the

Government’s motion for review. That agreement was incorporated in an Order by Judge

Crow filed on November 23, 2005. (Doc. 65). Thereafter, the parties reached another

agreement concerning defendants’ release pending trial, which adopted the conditions in

the prior orders with slight modifications, and which again was incorporated in an Order

by Judge Crow filed December 21, 2005. (Doc. 77).

                              Parameters for the Present Hearing

       Prior to hearing testimony, the court outlined the statutory provisions which

govern the motions set for hearing and also set out certain parameters for the introduction

of evidence at the hearing.

       As to Defendants’ motion to modify the conditions of release, 18 U.S.C. § 3142(f)

provides that a detention hearing may be reopened if the court finds

              that information exists that was not known to the movant at
              the time of the hearing and that has a material bearing on
              whether there are conditions of release that will reasonably
              assure the appearance of such person as required and the
              safety of any other person and the community.


                                              2
      Case 5:04-cr-40141-JTM        Document 197       Filed 08/08/05     Page 3 of 10




(emphasis added). Therefore, the present hearing was to be limited to consideration of

information not known to defendants at the time of the initial detention hearing in

November 2004, and the court would then determine whether that “new” information

warrants a change in the conditions of release.1 The mere fact that defendants may have

complied with the agreed conditions of release for approximately eight months does not

entitle them to now modify the conditions of release, particularly where those conditions

were established by agreement of the parties and adopted by the district judge.

       As to the Government’s motion to revoke defendant Arlan Kaufman’s release and

to order his detention until the time of trial, this is governed by the provision of 18 U.S.C.

§ 3148(b). In order to revoke defendant’s release, there is a two part test. First, the court

must find either (a) that there is probable cause to believe that defendant committed a

crime while on release, or (b) that there is clear and convincing evidence that the person

has violated any other condition of release. 18 U.S.C. § 3148(b)(1). If so, the court must

then find either (a) there are no conditions or combination of conditions that will assure

that the person will not flee or pose a danger to the safety of any other person or the

community or (b) the person is unlikely to abide by any condition or combination of

conditions of release. 18 U.S.C. § 3148(b)(2). In this case, evidence concerning the first

prong of §3148(b) must clearly involve evidence of something that happened while

defendant has been on release, i.e., events that occurred after the November 2004


       1
         This standard applies to defendants’ requests that (1) they be allowed to travel
unrestricted in the State of Kansas and parts of Missouri, and (2) that the daily ankle
monitoring equipment be removed and their house arrest be ended. The other request
concerning contact between defendants’ counsel and former residents of the Kaufman
House will be considered separately.

                                              3
      Case 5:04-cr-40141-JTM       Document 197       Filed 08/08/05    Page 4 of 10




detention hearing. As to the second prong, the court has already heard two days of

evidence dealing with the likelihood of danger to other persons, i.e., the former residents

of Kaufman House, if Arlan Kaufman were allowed release, and whether there are

conditions or a combination of conditions that would allow Arlan Kaufman’s release. See

e.g., Doc. 50 at 9-15. Therefore, at the present hearing, the court would hear only new

evidence on these issues which was not available to the Government at the time of the

detention hearing in November 2004. This clearly includes any evidence concerning

Arlan Kaufman’s actions during a June 2005 visit to his home by U.S. Probation Officers.

                           Discussion and Ruling on Motions

       The court then heard testimony from all parties directed to these motions. The

Government called Kirk W. Lowrey as a witness and introduced Government Exhibits 50,

50A, 57, 55, 51, 52, 53, 54, 66 and 62.2 The court admitted Government Exhibits 51, 55,

and 57. Government Exhibits 50, 50A, 52, 53, 54, 62 and 66 were not admitted into

evidence but were allowed as Government proffers.3 Defendants called Lynn Harris as a

       2
        The Government started numbering exhibits for this hearing with Ex. No. 50 to
coordinate with exhibits numbers which were used at the detention hearing in November
2004.
       3
          The videotapes (Exhibit 50) and transcript of videotapes (Exhibit 50A) all
involve videotapes seized by the Government in the execution of search warrants of
defendants’ properties in 2001 and October, 2004. The tapes were available at the time of
the initial detention hearing in November 2004, and, in fact, the Government played
numerous tapes at that time during in camera proceedings. Exhibit 52 is an affidavit of
Kirk W. Lowrey which was admitted into evidence at the November 2004 detention
hearing, over defendants’ objections. Exhibits 53, 54 and 66 are an affidavits of David G.
Summers dated November 15 and two later affidavits of Lowrey dated November 15 and
16, 2004. These three affidavits were all offered as exhibits at the November 2004
hearing, but were not admitted because they were submitted after the November 12, 2004
deadline for supplemental evidence which had been set by the court. See Doc. 71 at 3-4.

                                             4
      Case 5:04-cr-40141-JTM        Document 197        Filed 08/08/05     Page 5 of 10




witness, and offered the exhibits attached to their motions.

       After hearing the evidence, the court finds as follows:

       1.   Defendants’ Joint Motion to Modify Pretrial Release Conditions (Doc. 123)

should be DENIED insofar as it pertains to defendants’ request (1) that they be allowed to

travel unrestricted in the State of Kansas and parts of Missouri, and (2) that the daily

ankle monitoring equipment be removed and their house arrest be ended. Defendants

have not identified any material information which was not known to them at the time of

the initial detention hearing in November 2004, or by the time they agreed to the

conditions of release in December 2004, which warrants modification of the these

conditions of release. As to travel, defendants want the modification to visit their son in

Lawrence, Kansas, and other relatives in Missouri. While defendants’ son has moved

since the initial detention hearing was held, he actually moved closer to Newton, Kansas,

therefore he should be able to easily travel to Newton to see his parents. Defendants

clearly knew at the time they agreed to the present conditions of release that they had

relatives in Missouri, yet they negotiated no right to travel there. As to lifting the

electronic monitoring and lifting house arrest, defendants have shown no new information

which would justify modification of these agreed conditions of release. Defendants have

presented two letters from doctors advising both defendants to obtain exercise such as



While those affidavits were not admitted at either the November 2004 hearing or the
present hearing, they are included as a proffer by the Government. See Doc.50, Appendix
A. Finally, Exhibit 62 is a written interview taken on June 21, 2004 by a Government
agent which was included as Attachment N to the search warrant executed on defendants’
properties on or about October 26, 2004. As such, it was clearly available to the
Government for use at the November 2004 detention hearing.

                                               5
      Case 5:04-cr-40141-JTM       Document 197       Filed 08/08/05    Page 6 of 10




walking for their health. There is no evidence, however, that this recommendation is

triggered by any newly discovered medical condition for either defendant. And, while

defendants are on electronic monitoring, they can walk around the immediate vicinity of

their home and yard (and within range of the transmitter). Also, other alternatives are

available to defendants in order to obtain needed exercise such as purchase or rental of an

inexpensive stationary bicycle or other similar type of exercise equipment. Furthermore,

the court still has concerns about any contact between defendants and former residents of

Kaufman House who may reside in the Newton community, see Doc. 50 at 12-13 and 15-

16 (Conditions 1 and 2), and defendants and their counsel were so advised at the hearing.

There is evidence that some incidental contact between defendant Linda Kaufman and a

former resident of Kaufman House occurred at a “post office” and that contact was not

reported to the supervising probation officers as required by the agreed conditions of

release. See Doc. 77 at ¶ 3 (“If any contact, regardless of how temporary or inadvertent,

is made at either location, the defendants shall notify the United States Probation Officer

immediately upon the defendants’ return to their residence.”). The court believes that

continuation of both electronic monitoring and house arrest are warranted in this case.

       2.     Government’s Motion to Revoke the Conditions of Release for Defendant

Arlan Kaufman (Doc. 154) should also be DENIED. In applying the standards set out in

18 U.S.C. §3148(b)(1), the court believes that there is probable cause to find that

defendant Arlan Kaufman may have committed the federal crime of assault as defined in

18 U.S.C. § 111(a) when he became agitated during the visit of probation officers in his

home, gestured with his hands and ordered the officers on three occasions to leave his

home. Section 111(a) includes within its definition any incidents where a person “resists,

                                             6
      Case 5:04-cr-40141-JTM        Document 197       Filed 08/08/05    Page 7 of 10




opposes, impedes, intimidates, or interferes with any person designated in section 11144

of this title while engaged in or on account of the performance of official duties.” In this

case, Arlan Kaufman’s actions impeded or interfered with the probation officers’ duties

of checking and verifying the accuracy of the electronic monitoring equipment. With this

finding, the court must then consider the second part of the statute, 18 U.S.C. §

3148(b)(2). After hearing the testimony of Lynn Harris, one of the U.S. Probation

Officers who was conducting the check of the monitoring equipment, the court finds that

the present agreed conditions of release will assure Arlan Kaufman’s appearance and the

safety of other persons (including former residents of Kaufman House) and the

community. The court further finds that Arlan Kaufman is likely to abide by these

conditions of release after admonitions from the court at the hearing. Both defendants

should understand that any report from the probation office of any future occurrence

similar to the one which took place in June 2005, will be dealt with accordingly.

       As to both of these motions, the court also adopts the rulings and reasoning

announced in open court during the hearing on August 3, 2005.




       4
         Persons described in Section 1114 include “any officer or employee of the
United States or of any agency in any branch of the United States Government . . .while
such officer or employee is engaged in or on account of the performance of official
duties. 18 U.S.C. § 1114.

                                              7
      Case 5:04-cr-40141-JTM        Document 197        Filed 08/08/05     Page 8 of 10




                      Issue of Contact Between Defendants’ Counsel
                      and Former Residents of Kaufman House

       Defendants final request for modification of the court’s prior order setting

conditions of release deals with the ability of defendants’ counsel to contact former

residents of Kaufman House for interviews. Defendants’ request stems from Condition

No. 3 in the court’s Order of November 17, 2004, which states:

              Any attempt to contact the former residents or their families
              by counsel for defendants in this case for the purposes of
              preparing a defense shall be accomplished in accordance with
              any restrictions established by the district judge assigned to
              this case. The parties should meet and confer as soon as
              possible about a procedure which would allow defendants’
              counsel the opportunity to properly prepare the defense while
              assuring that the former residents and their families will not
              be unduly inconvenienced.

(Doc. 50 at 16) (emphasis added). As the court noted at the hearing, this order was

entered at a time when an indictment had just been handed down by the grand jury (Doc.

33) and the case had been assigned to Topeka, Kansas. The undersigned magistrate judge

believed that the question of whether there should be any restriction on contact with

former residents by defense counsel was something that would be presented to the district

judge immediately. Therefore, the intent of the November 17, 2004 order was that the

parties first attempt to agree to any such restrictions, and failing that, the issue would be

resolved by prompt motion to the trial judge. Whatever ruling was made by the trial

judge would then become a part of the conditions of release. The parties were unable to

agree on any type of restrictions on contact between defense counsel and former residents

of Kaufman House, and the matter was never presented to the trial judge for a ruling until


                                               8
      Case 5:04-cr-40141-JTM          Document 197     Filed 08/08/05    Page 9 of 10




defendants filed the current motion to modify conditions of release on June 24, 2005.

(Doc. 123). In its response, the Government asks the court “to adopt reasonable

guidelines for defense counsel’s contact with the emotionally vulnerable victims in this

case.” (Doc. 159 at 32). The Government urges that the court has the power to limit a

defendant’s access to witnesses in order to “prevent harassment or other wrongdoing,”

citing United States v. Soape, 169 F.3d 257, 270 (5th Cir.), cert. denied 527 U.S. 1011

(1999). Counsel for defendants argue that the court has no authority to restrict their

contact with potential witnesses, and that any restrictions would violate defendants’

constitutional rights.

       Having heard evidence on this issue, the court takes this question under

advisement and will issue a supplemental opinion addressing contact with former

residents of Kaufman House.

       IT IS THEREFORE ORDERED THAT the Joint Defense Motion for Expedited

Hearing on Defense Access to Witnesses (Doc. 152) is hereby GRANTED by virtue of

the hearing set for August 3, 2005;

       IT IS FURTHER ORDERED THAT Defendants’ Joint Motion to Modify

Pretrial Release Conditions (Doc. 123) is DENIED insofar as it pertains to defendants’

request (1) that they be allowed to travel unrestricted in the State of Kansas and parts of

Missouri, and (2) that the daily ankle monitoring equipment be removed and their house

arrest be ended, and TAKEN UNDER ADVISEMENT as to whether there should be any

restriction on contact with former residents by defense counsel;

       IT IS FURTHER ORDERED THAT Government’s Motion to Revoke the



                                              9
    Case 5:04-cr-40141-JTM       Document 197      Filed 08/08/05   Page 10 of 10




Conditions of Release for Defendant Arlan Kaufman (Doc. 154) is DENIED.

      Dated at Wichita, Kansas, this 5th day of August, 2005.



                                  s/ Donald W. Bostwick
                                 DONALD W. BOSTWICK
                                 United States Magistrate Judge




                                           10
